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Plaintiff,
vs. Case No. 2:04cr20362-D
Jen'y Rice

 

ORDER REFUNDING CASH APPEARANCE BOND

 

This matter comes before the Court on a motion for refund of the cash appearance bond.
It now appears that the defendant has complied with the requirements of said bond and orders of
this Court.

IT IS TI-IEREFORE ORDERED that the appearance bond for this defendant be canceled
and discharged; and the Clerk is directed to issue a check on the Registry in the sum of $1,000.00,
payable to Diane Fraizer at 2315 Arlene Ave., Memphis, TN 38127 in full refund of the cash

appearance bond posted herein.

 

Date: ©c/.L@l /J)d}ddf/

 

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ThW. Gould, Clerk of C rt
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UNITED sATE DISTRICT COURT - WTERN DISTRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 36 in
case 2:04-CR-20362 Was distributed by faX, mail, or direct printing on
July ]5, 2005 to the parties listed.

 

 

April Rose Goode

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Stuart J. Canale

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Honorable Bernice Donald
US DISTRICT COURT

